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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SARIKAPUTAR, ET AL.,                                                                           3/27/2023
                          Plaintiffs,
                                                                  17-cv-00814 (ALC)
                   -against-
                                                                        ORDER
VERATIP CORP., ET AL.

                          Defendants.
ANDREW L. CARTER, United States District Judge:

         As discussed in the telephonic conference held on March 23, 2023, Plaintiffs are

ORDERED to move for default judgment as to the remaining non-appearing Defendants on or by

April 6, 2023. The remaining non-appearing Defendants are ORDERED to file their opposition

to the Plaintiffs’ motion by April 20, 2023. Failure to do so will result in a grant of Plaintiffs’

motion for default judgment.

SO ORDERED.

Dated:     March 27, 2023
           New York, New York

                                                          ANDREW L. CARTER, JR.
                                                          United States District Judge
